 Case: 1:09-cv-05471 Document #: 423 Filed: 10/19/12 Page 1 of 26 PageID #:11372



                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION


ALTON LOGAN,                                  )
                                              )
            Plaintiff,                        )
                                              )
     v.                                       )
                                              )      No. 09 C 5471
CITY OF CHICAGO, et al.,                      )
                                              )
            Defendants.                       )
                                              )
                                              )

                                    ORDER

     Now before me are the parties’ motions in limine, which are

resolved as follows:

                      Defendants’ Motions in limine

1) To bifurcate trial.       This motion is denied.        I am not persuaded

that bifurcation of this case would be more efficient, or less

prejudicial, than a consolidated trial.



2) To bar any reference to plaintiff’s certificate of innocence.

This motion is denied.       Defendants’ discussion of res judicata is

irrelevant.     On the issue of relevance, defendants’ assertion of

the wholly inapposite Rodriguez v. Cook County, Ill., 664 F.3d 627,

629 (7th Cir. 2011), borders on the frivolous.             The certificate is

relevant at least to the “indicative of innocence” element of

plaintiff’s malicious prosecution claim, as well as to his damages.



                                       1
 Case: 1:09-cv-05471 Document #: 423 Filed: 10/19/12 Page 2 of 26 PageID #:11373




On the issue of admissibility, I may take judicial notice of the

certificate’s issuance (a fact not subject to reasonable dispute),

as indeed defendants’ own authority recognizes.             U.S. v. Jones, 29

F.3d 1546, 1553 (11th Cir. 1994) (while it is inappropriate to take

judicial notice of another court’s factual findings, a court may

take judicial notice of another court’s order “for the limited

purpose   of    recognizing     the    ‘judicial     act’    that   the    order

represents”).     Defendants argue that the certificate does not fall

within the scope of the public records exception to the hearsay

rule, but I am not persuaded that their cited authorities, Jones,

supra; Nipper v. Snipes, 7 F.3d 415 (4th Cir. 1993); Hillard v.

City of Chicago, No. 09 C 2017, 2010 WL 1664941 (N.D. Ill. Apr. 23,

2010) (Conlon, J.); and Taylor v. City of Chicago, No. 09 C 5092,

2012 WL 669063 (N.D. Ill. Feb. 29, 2012) (Shadur, J.), none of

which deals specifically with certificates of innocence, compels

that conclusion.      The thrust of Jones and Nipper is that judicial

findings of fact (which were included in the orders at issue in

those cases, and portions of which were read aloud to the jury in

both cases) are not covered by Rule 803(8).                  But plaintiff’s

certificate of innocence does not, on its face, include any

judicial findings.1       Taylor, which deals with a judicial finding


     1
      The text of the order reads, in its entirety: “This matter
coming to be heard on Alton Logan’s Petition pursuant to 735 ISCS
5/2-702 et seq. for a Certificate of Innocence, due notice having

                                       2
 Case: 1:09-cv-05471 Document #: 423 Filed: 10/19/12 Page 3 of 26 PageID #:11374



of no probable cause, relies on Jones (and a later 11th Circuit

case citing Jones, U.S. v. $125,938.62, 537 F.3d 1287 (11th Cir.

2009))   without    further     analysis,     while    Hillard,    which    also

addresses a judicial finding of no probable cause, holds only that

that finding is not admissible under Rule 803(22), (judgments of

previous convictions), which plaintiff does not rely upon here.

Finally, on the issue of prejudice, defendants’ argument that

evidence of the certificate of innocence would unfairly prejudice

defendants because “the jury may equate the court’s finding with a

determination as to the propriety of the defendant officers’

actions” is without merit.        See Newsome v. McCabe, No. 96 C 7680,

2002 WL 548725, at *5 (N.D. Ill. Apr. 4, 2002) (Plunkett, J.).



3) To bar certain hearsay statements attributed to Andrew Wilson.

This motion is denied.        I agree that Wilson’s confession to his

attorneys is an admissible statement against penal interest within

the scope of Fed. R. Evid. 804(b)(3), as the Seventh Circuit has

interpreted that Rule.        See U.S. v. Garcia, 897 F.2d 1413, 1420

(7th Cir. 1990) (statement is against penal interest if it “would

be probative in trial against the [declarant]”).               Neither of the

cases defendants cite--U.S. v. Jones, 600 F.3d 847 (7th Cir. 2010),

and U.S. v. Alvarez, 266 F.3d 587 (6th Cir. 2001)--supports their


been provided to the People of the State of Illinois, it is
hereby Ordered that: Petitioner’s request for a Certificate of
Innocence is granted.”

                                       3
 Case: 1:09-cv-05471 Document #: 423 Filed: 10/19/12 Page 4 of 26 PageID #:11375



argument    that    privileged       statements        generally    are     treated

differently under this rule.              Jones is entirely inapposite, and

Alvarez    stands, at best, for the narrow proposition that an

incriminating      statement       made    by     a   witness   after     receiving

affirmative promises that his statement would not subject him to

criminal charges cannot later be admitted as a statement against

penal interest.      In this case, by contrast, there is no evidence

that Wilson believed his statements to be anything other than

incriminating--to the contrary, evidence that he directed his

lawyers to keep his confession secret until his death indicates an

awareness that his statements could subject him to further criminal

charges.      Moreover,       as   both    the     Alvarez   and   Garcia    courts

recognized, the rationale behind Rule 804(b)(3) is that “reasonable

people...tend not to make self-inculpatory statements unless they

believe them to be true.” Alvarez, 266 F.3d at 593.                       See also

Garcia, 897 F.2d at 1420 (statement against interest is one that “a

reasonable person in the declarant’s position would not have

made...unless the declarant believed it to be true.”).                      As for

Wilson’s statements to his fellow inmates McDowell and Bivens,

defendants contend that they are too unreliable to qualify under

Rule   804(b)(3).       But    all    of       defendants’   arguments     in   this

connection target the trustworthiness not of Wilson’s statements,

but of the individuals to whom the statements were allegedly made.

Defendants are certainly entitled to challenge the credibility of


                                           4
 Case: 1:09-cv-05471 Document #: 423 Filed: 10/19/12 Page 5 of 26 PageID #:11376



these   individuals     and    may   do       so   through   cross-examination;

exclusion of their testimony about Wilson’s statements is not the

appropriate response to the issues defendants raise.                Finally, I

disagree that Wilson’s statements to Rhonda Howse, the mother of

his children, are either too vague or too unreliable to qualify

under Rule 804(b)(3).



4)   To bar hearsay statements during the testimony of Thomas

Bennett.    This motion is granted.                Bennett signed an affidavit

stating that before his death, detective Grunhard told Bennett (his

former partner) that Burge had told him (Grunhard) that “one of the

guys convicted in the McDonald’s shootings was the wrong guy,” and

that “the right guy was Andrew Wilson.”              Plaintiff seeks admission

of Burge’s statement under Rule 801(d)(2)(E), as the statement of

a co-conspirator made to another co-conspirator in the course of

the conspiracy. But plaintiff does not identify Grunhard as a

participant in the alleged conspiracy. Plaintiff acknowledges that

neither Grunhard nor Bennett is a defendant in this case.                  While

the fact of Grunhard’s death in 1990 explains his omission as a

defendant, it does not explain why acts attributed to him are

absent from the record, if indeed plaintiff believes that those

acts form part of the basis for his allegations of a conspiracy.

Plaintiff’s argument that Grunhard’s non-alleged (and unsupported)

involvement in the McDonald’s investigation qualifies Grunhard as


                                          5
    Case: 1:09-cv-05471 Document #: 423 Filed: 10/19/12 Page 6 of 26 PageID #:11377



a co-conspirator is without legal support.                       Among other things,

plaintiff points to nothing in the record to suggest that Grunhard

affirmatively agreed with any defendant to conceal evidence of

Logan’s innocence.               Because the record does not allow me to

conclude      that    Grunhard        was    a   co-conspirator,       Burge’s   alleged

statements       to   him       do   not    qualify     for    admission      under   Rule

801(d)(2)(E).



5) To admit certain former testimony.                   This motion is denied as to

Grunhard, Murray, Downs, Karl, Wilson, and Bennett.                      It is further

denied as to Gorman, who may be deposed in Florida.                        As to Trent,

Parker, Owen, and Hope, the motion is denied without prejudice, and

I     will   consider       a    narrowly        tailored     motion   that    indicates

specifically which testimony defendants seek to admit.



6) To bar any reference to allegations of physical abuse.                             This

motion is granted in part.                  It is denied as to Donald White, who

testified that he told defendants that he knew Andrew Wilson and

Edgar Hope were involved in the McDonald’s killing and told them

that he didn’t know plaintiff, “but they didn’t want to hear that.”

White      testified    that         he    was   then   abused    by   defendants      and

thereafter identified plaintiff as the McDonald’s shooter because

he was afraid of further police brutality.                       White’s testimony is

plainly relevant to plaintiff’s Brady claim.                     Moreover, defendants


                                                 6
 Case: 1:09-cv-05471 Document #: 423 Filed: 10/19/12 Page 7 of 26 PageID #:11378



intend to challenge White’s credibility at trial, and plaintiff is

entitled to offer his testimony about police brutality as an

explanation for his previous inconsistent testimony. The motion is

granted, however, as to Derrick Martin, the Wilson brothers, and

Anthony Williams.        Plaintiff has not identified any evidence that

these       witnesses   provided   defendants     with   any   information     to

exculpate       plaintiff   with   respect   to    the   McDonald’s    murder.2

Accordingly, their testimony is not relevant to plaintiff’s Brady

claim. Indeed, plaintiff essentially acknowledges that the purpose

of these other witnesses’ testimony is to support White’s testimony

and bolster his credibility. But its relevance for that purpose is

simply too far removed from the central issues in this case.

Meanwhile, the likelihood of unfair prejudice against defendants is

high.



7) To bar any reference to defendant Burge’s 2010 conviction. This

motion is denied. Even assuming that there is merit, in theory, to

defendants’ argument that a conviction should not be permitted for



        2
      Plaintiff argues, “other witnesses knew that Andrew Wilson
was the true perpetrator, but were abused by police officers and
did not come forward with what they knew,” but offers no evidence
for this argument. In a footnote, plaintiff states, “Williams
did tell some but not all the police officers he interacted with
about Andrew Wilson’s guilt,” citing to “Exhibit B at 83-85
(Deposition of Anthony Williams).” But Exhibit B is an excerpt
of Derrick Martin’s deposition testimony, not Anthony Williams’s.
And while Exhibit C contains an excerpt of Williams’s deposition
testimony, pages 83-85 do not support plaintiff’s assertion.

                                       7
 Case: 1:09-cv-05471 Document #: 423 Filed: 10/19/12 Page 8 of 26 PageID #:11379



impeachment where there is no testimony to impeach, the argument

ignores   that   in   this   case,    hearsay    statements     by   Burge   are

apparently among the evidence the jury will weigh, and that these

statements subject Burge’s credibility to attack under Fed. R.

Evid. 806, regardless of whether he takes the stand.                 And there

remains the further       issue of defendants’ proffered expert, Anne

Bremner, who explicitly discusses the charges leading up to Burge’s

2010 conviction, then opines that it would be unfair to Burge to

infer--as if it were an open question--that Burge was guilty of

those charges on the basis of his invocation of the Fifth Amendment

in that case.    Her legal argument may be correct as far as it goes;

but defendants are not entitled to use a factually incomplete

picture of Burge’s perjury case to defuse the possibility that the

jury will draw an adverse inference (as all agree it is entitled to

do) from his invocation of the Fifth Amendment in this case.



8) To bar witnesses who intend to invoke the Fifth Amendment from

being called to testify. This motion is denied. As Judge Kennelly

recently held, “plaintiff is not required to accept a stipulation

in lieu of proving a point at trial.”           Jimenez v. City of Chicago,

---F. Supp. 2d---, 2012 WL 2863259, at *21 (July 11, 2012),

distinguishing Old Chief v. United States, 519 U.S. 172 (1997),

which defendants also cite here.           Plaintiff’s examination of each

Fifth   Amendment     witness,   however,     will   be   limited    to   twenty


                                       8
 Case: 1:09-cv-05471 Document #: 423 Filed: 10/19/12 Page 9 of 26 PageID #:11380



questions, and plaintiff must of course have a good faith basis for

each.



9) To bar reference to other lawsuits, other claimed incidents or

defendants’        disciplinary    histories.    This    motion   is   granted.

Plaintiff does not claim to have been subjected to abusive police

interrogations.        He insists that evidence of defendants’ other bad

acts        is   relevant   to    modus   operandi,   intent,     opportunity,

preparation and plan–but with respect to what element of his

claims?          As discussed above with respect to defendants’ sixth

motion in limine, the claims asserted in this case are based on the

non-disclosure and concealment of exclupatory evidence.                The type

of evidence at issue in this motion simply does not evince an

intent (or plan, opportunity, or preparation etc.) to do anything

relevant to these claims.          The primary   relevance of this evidence

is, again, to support Donald White’s explanation for his previous

testimony incriminating plantiff.3



10) To bar reference to evidence of prior bad acts, arrests, and


        3
      Plaintiff argues, for example, “[t]o the extent that the
Defendants claim that they had no intent to coerce a statement
from White, then Plaintiff is entitled to present evidence
demonstrating otherwise,” and continues: “In dispute is whether
Defendants used physical violence, amongst other methods, to
coerce a false statement from White, and if Defendants had an
intention to use violence, then it makes it more likely that they
did use violence.” But the “dispute” referenced here is
tangential to plaintiff’s claims.

                                          9
Case: 1:09-cv-05471 Document #: 423 Filed: 10/19/12 Page 10 of 26 PageID #:11381



general character attacks on witnesses Anthonette Dawson and Alvin

Thompson.    This motion is granted as agreed by the parties.



11) To bar testimony from Terrance Babers, Wilbur Cooley and Joseph

Prendergast.     This motion is denied.       The difficulties defendants

describe    in   obtaining    the   depositions      of   these    third-party

witnesses are nothing like those that led the court to bar trial

testimony in the cases defendants cite, Johnson v. J.B. Hunt

Transport, Inc., 280 F.3d 1125 (7th Cir. 2002) (testimony of

witness barred as sanction for “unprofessional” and “abusive”

conduct during discovery, including repeated failure to produce

witness for deposition), and Bronk v. Ineichen, 54 F.3d 425 (7th

Cir. 1995) (witnesses not disclosed in final pre-trial order).

Here, by contrast, there is no indication (indeed, defendants do

not even contend) that plaintiff or his counsel is responsible for

defendants’ alleged inability to depose these witnesses. Moreover,

Prendergast has explicitly stated his willingness and availability

to be deposed.      As to the other two witnesses, defendants could

have, but did not, raise, during discovery, the difficulties they

apparently had in serving them with deposition subpoenas, which

might have avoided the prejudice they now claim will result if

these witnesses testify.



12) To bar certain witnesses disclosed relative to the since


                                      10
Case: 1:09-cv-05471 Document #: 423 Filed: 10/19/12 Page 11 of 26 PageID #:11382



dismissed “widespread practice” claim.          This motion is granted for

substantially the reasons discussed in my rulings above as to

defendants’ sixth and ninth motions in limine.



13) To preclude evidence or argument regarding plaintiff’s “street

files” claim already dismissed on summary judgment. This motion is

granted as follows: I agree that plaintiff may not introduce

evidence   of   a   “street    files”      practice   for   the    purpose    of

establishing, as plaintiff apparently intends to do, defendants’

“regular practice of trying to hide things.” As all agree, the

“street file” at issue in this case was not, in fact, “hidden” from

plaintiff’s attorney.       This ruling does not, however, necessarily

preclude any reference to the “street file” in this case or the

contents thereof, and, if referenced, plaintiff is entitled to

introduce evidence necessary to enable the jury to understand what

is meant by a “street file.”



14) To preclude speculative arguments concerning Wickliffe’s .38

caliber revolver and an alleged lineup at Cook County Jail.                  This

motion is denied.      There is sufficient evidence in the record to

justify good-faith questions on these topics.            Defendants are free

to present the evidence they believe rebuts plaintiff’s version of

these issues.




                                      11
Case: 1:09-cv-05471 Document #: 423 Filed: 10/19/12 Page 12 of 26 PageID #:11383



15) To bar evidence or argument inconsistent with the law of

probable cause.          This motion is denied.           If what defendants are

really getting at is the admissibility of the so-called Celovsky

memo, neither the formulation of their argument–which, I note,

invokes     no      evidentiary      rule    or    principle–nor      their    cited

authorities establish any basis for its exclusion.                    I agree with

plaintiff that defendants’ argument is better suited to a dispute

about jury instructions, not a dispute about the admissibility of

evidence.



16) To bar the proffered testimony of Dr. Jennifer Dysart on the

issue of eyewitness identification.                This motion is granted.         The

thrust    of     Dr.    Dysart’s     testimony     is    to   cast   doubt    on   the

reliability of the testimony of the witnesses who identified

plaintiff      as      Wickliffe’s    killer      in    his   underlying     criminal

proceedings.        But this case is not a retrial of plaintiff, and

while I acknowledge that evidence pointing toward, or against, his

guilt has some tangential relevance to the issues in this case, the

examination of Dr. Dysart would take the case in a direction too

far afield from the central issues to be decided. Moreover, to the

extent Dr. Dysart’s report opines on the central issue here–whether

defendants deliberately orchestrated lineups in such a way as to

incriminate plaintiff–plaintiff does not dispute that Dr. Dysart

answered “no” to the question: “In your entire review of the


                                            12
Case: 1:09-cv-05471 Document #: 423 Filed: 10/19/12 Page 13 of 26 PageID #:11384



materials, were you able to find any record support for any

allegation that either Jon Burge, George Basile, Joseph DiGiacomo,

James Pienta, Thomas McKenna, Fred Hill, or Anthony Katalinic

conducted an improper lineup?”4



17) To bar the proffered police practices testimony of Russell

Fischer. This motion is denied.         Unlike the proposed testimony of

Dr. Dysart, discussed above, the proposed testimony of Mr. Fischer

relates directly to the issue of whether defendants deliberately

handled the McDonald’s investigation in such a way as to inculpate

plaintiff, regardless of his guilt. Defendants’ lead argument that

Mr. Fischer is not qualified to offer an expert opinion on whether

defendants’ investigation of the McDonald’s murders was consistent

with normal police practices is without merit.              I am not persuaded

that an understanding of how police investigations are carried out

is within the ken of the average juror, and, in any event, “[i]f an

expert's testimony is helpful to the jury, it is admissible even if

it   “‘cover[s]    matters    that    are   within    the    average    juror's

comprehension.’”     Wells v. City of Chicago, No. 09 C 1198, 2012 WL

116040, at *10 (N.D. Ill. Jan. 16, 2012) (Kennelly, J.) (expert



      4
      Unhelpfully, defendants have omitted from the cited exhibit
the page on which they say this testimony appears. Nevertheless,
I presume that if the testimony were misquoted or otherwise
mischaracterized, plaintiff would have brought this to my
attention. Since he has not, I assume that the quotation in
defendants’ brief accurately reflects the record.

                                      13
Case: 1:09-cv-05471 Document #: 423 Filed: 10/19/12 Page 14 of 26 PageID #:11385



qualified    on   the     basis       of    his    “extensive      background    in   law

enforcement” to opine that “under the facts of the case, proper

police   procedure        would       require”          certain    actions)   (citation

omitted).         Nor     do      I        conclude       that    Fischer’s     opinions

inappropriately make credibility determinations.                         While expert

opinions must have some basis in the record, they need not rely

only on undisputed facts.                  Id. at *11.           Defendants’ remaining

objections to Fischer’s opinions are without merit for reasons

discussed elsewhere in this order.



18) To bar any reference to the City as a party and to omit the

City as a defendant on the verdict form. This motion is granted.

Plaintiffs object to the motion on the ground that, although all

claims against the City have been dismissed, the City may yet be

responsible,      under    the        theory       of     respondeat    superior,     for

unspecified tortious acts of unspecified agents other than Burge

and Basile   (who are named in the state law counts, and as to whose

alleged acts the City agrees were within the scope of their

employment).      Any such claims were either dismissed at summary

judgment, or have not been properly disclosed and pursued in the

course of litigation.          Prate v. Village of Downers Grove, 2011 WL

5374100, at *6 (N.D. Ill. Nov. 11, 2011) (St. Eve, J.), is not to

the contrary.       In that decision, the court merely declined to

dismiss, at the pleading stage, respondeat superior claims against


                                              14
Case: 1:09-cv-05471 Document #: 423 Filed: 10/19/12 Page 15 of 26 PageID #:11386



the defendant city, even though the individual officers whose

conduct was at issue could not be named as defendants because the

limitations period as to claims against them had run.              The problem

here is not merely that plaintiff declined to name additional City

agents in his pleading, it is that he failed to develop evidence as

to the conduct of such agents over the course of this litigation.

I agree that it would be unfair to defendants for plaintiff to

claim, for the first time at trial, that such other City agents

committed torts for which the City should be held liable.



                      Plaintiff’s motions in limine

1) To bar argument or suggestion that Andrew Wilson’s criminal

defense lawyers are responsible for plaintiff’s injuries.                  This

motion is granted.       Wilson’s former attorneys are not on trial.

Even assuming that the lawyers’ decision not to share exculpatory

evidence with plaintiff’s defense counsel was in some way culpable,

that decision has no bearing on defendants’ potential liability

under Brady for their own failure to disclose exculpatory evidence

allegedly in their possession.         This is true regardless of how a

jury may view the lawyers’ credibility. In any event, the lawyers’

silence cannot, as defendants argue, reasonably be deemed the “sole

proximate    cause”   of    the   constitutional      violations     plaintiff

asserts.    Finally, because it is irrelevant whether ethical rules

did, in fact, prevent Wilson’s lawyers from coming forward with


                                      15
Case: 1:09-cv-05471 Document #: 423 Filed: 10/19/12 Page 16 of 26 PageID #:11387



exculpatory    evidence,     the    testimony     and    report     of   Thomas

Fitzpatrick, who opines on this issue, is not admissible.



2) To bind defendants to their privilege assertions. This motion is

granted to the extent it seeks to prevent defendants from answering

questions they previously declined to answer in reliance on their

Fifth Amendment rights.        Defendants are not, however, precluded

from testifying that their decision to assert their Fifth Amendment

rights was on the advice of their counsel.



3) To admit statements of Andrew Wilson, Edgar Hope, and Jon Burge.

This motion is granted as to Wilson’s statements for reasons

discussed in relation to defendants’ motion in limine no. 3. It is

also granted as to Hope’s statements to his attorney for similar

reasons. Hope’s statement to Ronald Kliner, “you know [plaintiff],

he’s innocent.     He’s on my case,” is also admissible.             While the

statement   does    not   amount    to    a   confession,   it    nevertheless

qualifies as a statement against Hope’s penal interest because it

reflects knowledge about the crime that Hope would have had because

of his own involvement.       See U.S. v. York, No. 86 CR 315, 1989 WL

65167, at *4 (N.D. Ill. Jun. 9, 1989) (Williams, J.).               The motion

is denied as to Burge’s statement to Grunhard for reasons discussed

in conjunction with defendants’ motion in limine no. 4.




                                         16
Case: 1:09-cv-05471 Document #: 423 Filed: 10/19/12 Page 17 of 26 PageID #:11388



4) To bar reference to street gangs. This motion is granted.                 The

parties dispute whether plaintiff was a member of the Gangster

Disciples street gang thirty years ago.              Defendants argue that

evidence that plaintiff was a gang member is relevant to impeach

plaintiff’s testimony that he did not know Andrew Wilson (who the

parties agree was “undoubtedly” a gang member) prior to the

McDonald’s murder, and that it further suggests a bias in Wilson’s

hearsay testimony.     But any probative value this evidence may have

is clearly outweighed by the risk of prejudice to plaintiff.



5) To bar all references to Mr. Logan’s arrests or criminal

convictions. This motion is granted in part.             The parties do not

appear to dispute that plaintiff’s arrests that did not lead to

convictions are inadmissible.5          Defendants argue, however, that

plaintiff’s criminal record is relevant to establish 1) that

plaintiff knew Wilson and Hope, 2) that defendants had probable

cause to prosecute plaintiff, 3) that plaintiff had a motive to

murder Lloyd Wickliffe, and 4) plaintiff’s damages. I am persuaded

only as to the damages issue.         The opinion of plaintiff’s expert

Terry Kupers makes reference to plaintiff’s experiences in prison


     5
      Plaintiff seeks to carve out an exception for one incident,
prior to the McDonald’s murder, in which defendant Burge arrested
plaintiff. Plaintiff asserts that this evidence is relevant to
establish that Burge bore plaintiff animus, and that it should be
admitted for that purpose and that purpose only. Defendants do
not appear to object to the use of the evidence for that limited
purpose.

                                      17
Case: 1:09-cv-05471 Document #: 423 Filed: 10/19/12 Page 18 of 26 PageID #:11389



prior    to   the   sentence    he   served    for     the     Wickliffe    murder.

Plaintiff cannot have it both ways, advancing a damages theory that

relies on reference to his past prison experience, on the one hand,

while barring any reference to his criminal record on the other.

That said, while defendants are entitled to refer to plaintiff’s

previous incarceration, they will not be permitted to explore the

details of his previous felony convictions, all of which are

presumptively inadmissible under Fed. R. Evid. 609(b).



6) To bar reference to various bad acts committed by Mr. Logan.

This motion seeks to bar reference to 1) various events plaintiff

characterizes as “childhood infractions,” 2) plaintiff’s discharge

from the Army, 3) plaintiff’s possession of homemade knives while

incarcerated, and 4) plaintiff’s employment status before 1983.

The motion is granted as to items 1 and 2 and denied as to items 3

and 4.    Plaintiff’s unemployment at the time of his conviction is

relevant to his damages calculation.           And, because plaintiff’s own

expert    discusses,     in    the   course     of     his     analysis     of   the

psychological       damage    plaintiff     suffered      as   a   result   of   his

incarceration,       plaintiff’s     possession      of    homemade    knives    or

“shanks,” it would be inappropriate to preclude defendants from

referencing the same.




                                       18
Case: 1:09-cv-05471 Document #: 423 Filed: 10/19/12 Page 19 of 26 PageID #:11390



7) To bar Thomas Durkin as a testifying expert for defendants.

This motion is granted.      Defendants do not claim that Mr. Durkin’s

proposed testimony is offered for any purpose other than to rebut

the testimony of plaintiff’s expert Dr. Dysart, which I have

excluded for the reasons set forth in my discussion of defendants’

motion in limine no. 16.



8) To bar undisclosed and irrelevant witnesses from testifying at

trial.   This skeletal, three-page motion seeks a blanket ruling

that thirty-four individuals on defendants’ witness list are barred

from testifying because they were not disclosed, have no relevant

testimony to offer, or both. With the exception of Charles Harris,

whose testimony the parties agree is unnecessary, I decline to

grant this motion on its present terms.            The record reveals that

witnesses Hogan, Frum, Kapture, Leifheit, Wilson, and Meeks were,

contrary to plaintiff’s assertion, disclosed in a supplementary

discovery response dated May 3, 2011, and that witness Madden was

disclosed during the deposition of Derrick Martin.                  Defendants

agree that witness Hill, who was previously withdrawn from the

witness list, will not be called unless for impeachment testimony.

Although plaintiff states that the remaining witnesses identified

in the motion are irrelevant, he makes no reasoned argument in this

connection.




                                      19
Case: 1:09-cv-05471 Document #: 423 Filed: 10/19/12 Page 20 of 26 PageID #:11391



9) To bar reference to defendants’ allegations that Mr. Logan or

his brother threatened defense counsel.             This motion is granted.

No such reference would have any probative value as to any issue at

this trial.



10)    To   bar   reference   to   a   fight   between   Mr.     Logan   and   his

girlfriend and allegations that Mr. Logan was unfaithful.                      This

motion is granted for the same reason as the previous motion.



11) To bar references to plaintiff’s prison disciplinary history.

This motion is denied.             Plaintiff intends to testify to the

conditions of his incarceration in support of his claim for

damages.     Defendants are entitled to probe this topic, including

with   evidence     of   plaintiff’s    own    conduct   while    incarcerated.

Plaintiff claims that this evidence is unfairly prejudicial, but

that is not necessarily true.          Indeed, plaintiff himself observes,

“details of Mr. Logan’s prison disciplinary history will give the

jury a better picture of how terrifying Mr. Logan’s 26 years of

wrongful incarceration were for him.”



12) To bar reference to collateral source payments. This motion is

granted.     Defendants are free to press their construction of the

certificate of innocence through legal argument based upon the text

of the statute.      Evidence that plaintiff was paid pursuant to the


                                        20
Case: 1:09-cv-05471 Document #: 423 Filed: 10/19/12 Page 21 of 26 PageID #:11392



statute is of no meaningful probative value to the issues in this

case and is outweighed by the likelihood of prejudice.



13) To refer at trial to certain former state’s attorneys as

“counselor”      rather   than     “judge.”    This   motion   is   granted    as

unopposed.



14)   To   bar    reference   to    criminal   convictions     of   third-party

witnesses.       This motion is granted in part.           I agree that the

details of the crimes for which McDowell, Bivens, and Kliner were

convicted are not relevant to any issue in this case.               Defendants

are, however, entitled to cross-examine these witnesses and test

their credibility, including by asking questions relating, for

example, to affidavits they signed in other cases.              As for Jackie

Wilson, it is impossible to determine on anything other than an

issue-     or    question-specific     basis    whether   reference     to    his

convictions are, or are not, relevant to the issues in this case.



15) To bar references to illegal drugs and alcohol. This motion is

granted.



16) To bar Edgar Hope and Jerome Johnson from testifying and to bar

reference to their invocation of the Fifth Amendment.               This motion

is granted.       It may, indeed, be permissible to draw an adverse


                                       21
Case: 1:09-cv-05471 Document #: 423 Filed: 10/19/12 Page 22 of 26 PageID #:11393



inference “against a witness who pleads the Fifth Amendment even if

that witness is not a party.”            Daniels v. Pipefitters’ Ass’n Local

Union No. 597, 983 F.2d 800, 802 (7th Cir. 1993) (emphasis added).

But no adverse inference that might be drawn against the witnesses

who invoked the Fifth Amendment in response to the questions posed

is relevant to the issues in this case.                     For example, Hope was

asked, “Isn’t it true that the person who entered the McDonald’s

with the shotgun was Alton Logan?”               Hope’s invocation of the Fifth

Amendment could, in a civil case, be construed as evidence that a

truthful answer would have revealed Hope’s own involvement in the

crime    (even   if    the    truthful     answer      were    “no.”).        But   the

permissible adverse inference that Hope was involved in the crime

does    not   make    it   any    more    or    less   likely    that    Logan      was.

Accordingly, Hope’s invocation of the Fifth Amendment is irrelevant

to any issue here.         Defendants similarly fail to explain how any

adverse inference that might be drawn against Smith from his

invocation of the Fifth Amendment in response to the question:

“Isn’t   it   true,    sir,      that    you    witnessed     Alton   Logan    at   the

McDonald’s on January 11, 1982 shoot Lloyd Wickliffe with a

shotgun?” is relevant to this case.



17) To bar defendants from showing any videotaped portion of Gail

Hillard’s deposition. This motion is granted as unopposed.




                                           22
Case: 1:09-cv-05471 Document #: 423 Filed: 10/19/12 Page 23 of 26 PageID #:11394



18) To bar reference to jurors as taxpayers.                   This motion is

granted as unopposed.



19) To bar reference to various bad acts committed by Donald White.

This motion is granted in part.              Mr. White’s testimony is a key

element of plaintiff’s case, and defendants are entitled, pursuant

to Fed. R. Evid. 608 and 609, to impeach his credibility with

evidence of his conviction for crimes involving dishonesty and

evidence showing his character for untruthfulness.                In this case,

I conclude that all of Mr. White’s convictions for crimes involving

dishonesty are admissible.          While it is true that Rule 609(b)

presumptively bars convictions that are over ten years old, the

jury in this case will be asked to assess Mr. White’s credibility

not only with respect to statements he makes on the stand, but also

in considering statements he made in 1982, 1989, 2000, and 2010.

Rule    403   considerations     also   do     not   require   excluding     this

evidence.     Mr. White is not a party in this case, so the relevance

of the evidence to his credibility (and, indeed, the importance of

his    credibility   to   plaintiff’s        claims)   is   not   substantially

outweighed by the risk of unfair prejudice. The jury is not likely

to conclude, improperly, that plaintiff is not entitled to relief

simply    because    it   may   conclude,      based   on   Mr.    White’s   past

convictions, that Mr. White is a bad person.                      Nor are these

convictions needlessly cumulative to other evidence, since Mr.


                                        23
Case: 1:09-cv-05471 Document #: 423 Filed: 10/19/12 Page 24 of 26 PageID #:11395



White’s “character for truthfulness” is at issue, and evidence of

one conviction does not have the same weight, in this regard, as

evidence of multiple convictions.

     I also see no basis for excluding Mr. White’s own testimony

about his commission of uncharged crimes of dishonesty.               The case

plaintiff cites in this connection, U.S. v. Davis, No. 99 C 928,

2001 WL 1195729 (N.D. Ill. Oct 9, 2001) (Kennelly, J.), does not

militate in favor of exclusion, since, among other distinctions,

the uncharged crime in that case was defendant’s own (so the risk

of prejudice was significant), and the evidence of the crime was

not the defendant’s own admission, but instead the testimony of one

of the state’s witnesses.

     Nevertheless, defendants overreach with the suggestion that

Mr. White’s “entire criminal history” is admissible.6 I am not

persuaded, for example, that evidence of Mr. White’s arrests not

leading to convictions, or convictions more than 10 years old for

crimes not involving dishonesty, are sufficiently probative of his

credibility to be admissible.

     Finally, the parties appear to agree that incidents they

vaguely refer to as occurring in Aurora are not relevant to any


     6
      They caption their first argument, “Mr. White’s Entire
Criminal History is Relevant to the Jury’s Assessment of his
Credibility and not Defeated by Fed. R. Evid. 404(b) or 403,” but
their brief does not specifically address every item plaintiff
seeks to bar in his motion. Accordingly, I assume they agree not
to offer evidence of bad acts other than those addressed, and
that I conclude here are admissible.

                                      24
Case: 1:09-cv-05471 Document #: 423 Filed: 10/19/12 Page 25 of 26 PageID #:11396



issue in this trial, so I presume that neither side intends to

offer evidence relating to these incidents.



20) To bar speculation from Donna Parker.               This motion is granted.

Defendants     argue    that    Parker’s        proffered    testimony    about   the

meaning of the phrase, “[plaintiff] states that he was under the

influence of alcohol at the time of this offense,” which she wrote

in   plaintiff’s    presentence       investigation         report,   is   akin    to

evidence held admissible in Newton v. Ryder Transp. Services, 206

F.3d 772 (8th Cir. 2000).             In that case, the appellate court

concluded that the lower court should have admitted the deposition

testimony of a police officer in which he read the contents of an

accident report he had written about the plaintiff’s traffic

accident. The Eighth Circuit held that it was error to exclude the

contents of the report (which “indicated that [the plaintiff]

stated that he fell asleep behind the wheel and that he was wearing

a    seat   belt   at   the    time   of    the     accident”),     rejecting     the

plaintiff’s argument that the officer “had no knowledge” of the

“origin of the statement,” that is, whether the statement reflected

in the report was based on information obtained from the plaintiff

or from someone else.          Id. at 774-75.        The court concluded, based

on   the    officer’s   credible      testimony      about    his   record-writing

practices and his belief that the information could have come from

only    one   source–-the       plaintiff--that        the     evidence    met    the


                                           25
Case: 1:09-cv-05471 Document #: 423 Filed: 10/19/12 Page 26 of 26 PageID #:11397



requirements of Fed. R. Evid 803(5).          That rule, which defendants

assert here, permits the admission of a “record concerning a matter

about which a witness once had knowledge but now has insufficient

recollection to enable the witness to testify fully and accurately,

shown to have been made or adopted by the witness when the matter

was fresh in the witness’ memory and to reflect that knowledge

correctly.”    Newton, 206 F.3d at 774.

     In this case, however, there is no dispute about the origin of

the statement in Ms. Parker’s report.             Plaintiff does not deny

making the statement it attributes to him.                 Indeed, I do not

construe plaintiff’s motion as seeking to exclude the statement

itself.   What plaintiff seeks to bar is Ms. Parker’s testimony in

which she interprets the statement’s meaning.                   I agree that

exclusion of this evidence is proper.            Nothing Ms. Parker could

properly testify to, i.e., about which she has personal knowledge,

is relevant to what plaintiff meant by the statement.



21) To bar the testimony of Erich Speckin. Oral argument on this

motion is set for October 31 at 10:30.




Dated: 10/19/2012




                                      26
